                                  CASE 0:22-cr-00120-ECT-BRT Doc. 15 Filed 06/22/22 Page 1 of 1

                                               IN THE UNITED STATES DISTRICT COURT
                                                  FOR THE DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                                )         COURT MINUTES - CRIMINAL
                                                         )              BEFORE: JON T. HUSEBY
                                      Plaintiff,         )                 U.S. Magistrate Judge
                                                         )
   v.                                                    )   Case No:           22-cr-120 ECT/BRT
                                                         )   Date:              June 22, 2022
Faith Rose Gratz(1),                                     )   Video Conference
                                      Defendant,         )   Time Commenced:    10:07 a.m.
                                                         )   Time Concluded:    10:10 a.m.
                                                             Time in Court:     3 minutes



X DETENTION HRG ONLY



APPEARANCES:
   Plaintiff: Harry Jacobs, Assistant U.S. Attorney
   Defendant: Sarah Weinman and Shannon Elkins
                   X FPD


On X Indictment

X Deft Ordered Detained - Govt to submit proposed order

Additional Information:
X Defendant consents to this hearing via video conference.

Detention hearing waived and reserved.
Defendant arraigned, see arraignment minutes and order.




                                                                                                             s/JAM
                                                                                   Signature of Criminal Duty Clerk




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